Case 2:04-cr-20463-.]PI\/| Document 33 Filed 08/03/05 Page 1 of 2 Page|D 49

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PLAINTIFF, witt ct f.t~it»zs>as
VS. NO: 04-20463-Ma
(Mccaua)
TIMOTHY VO,
DEFENDANT.

 

ORDER CONTINUING SENTENCING I-IEARING

 

THIS MATTER came on for consideration upon the Motion of the Defendant to continue the
Sentencing Hearing ii'om August 8, 2005 to August 25, 2005 at 4:30 p.m.;

It appearing to the Court that said Motion should be granted

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the Sentencing Hearing
in this matter be, and the same hereby is, continued from August 8, 2005 to Thursday, August 25, 2005 at
4:30 p.m. in Courtroom 4, 9"1 Floor of the Federal Building, Memphis, Tennessee.

 

 

APPROVED:

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FOR THE DEFENDANT

147 Jeffersori Avenue, Suite 1104
Mem his, TN 38]03
901- 25-5332

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AssistantU. S.Attorney ,§........ ,T .. . 1
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UNITED S`TATE DRISTIC COURT - WESTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:04-CR-20463 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

Tirnothy R. DiScenZa

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Honorable J on McCalla
US DISTRICT COURT

